                        UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN


KIMBERLEE VEN HOUSEN

                     Plaintiff,                      Case No.: 20-CV-1097

       v.

RV WORLD, INC OF NOKOMIS d/b/a
GERZENY’S RV WORLD,
WINNEBAGO INDUSTRIES, INC. and
MERCEDES-BENZ USA, LLC,

                     Defendants.


STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY
                                                     Case No.: 20-CV-1099
                     Plaintiff,

       v.

WINNEBAGO INDUSTRIES, INC. and
MERCEDES-BENZ USA, LLC,

                     Defendants.


   DEFENDANT’S CIVIL L.R. 7(h) EXPEDITED NON-DISPOSITIVE MOTION TO
             CONSOLIDATE E.D. WISCONSIN CASE # 20-CV-1097
  AND E.D. WISCONSIN CASE # 20-CV-1099, PURSUANT TO FED.R.CIV.P. 42(a)


      Defendant Winnebago Industries, Inc, by tits attorneys, Cade Law Group LLC,

pursuant to Fed.R.Civ.P. 42(a), hereby submits this Local Rule 7(h) Expedited Non-

Dispositive Motion for the Court to consolidate Eastern District of Wisconsin Case # 20-

CV-1097 and Eastern District of Wisconsin Case # 20-CV-1099.

      As grounds for this Motion, Winnebago states as follows:



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       1.      On July 18, 2020, the case of Kimberlee Ven Housen v. RV World, Inc of

Nokomis d/b/a Gerzeney’s RV World et al., Walworth County Case # 2020-CV-0307 (the

“Ven Housen Lawsuit”) was removed to the Eastern District of Wisconsin on the grounds

of diversity jurisdiction.

       2.      On July 19, 2020, the case of State Farm Mutual Automobile Insurance

Company et al v. Winnebago Industries, Inc. et al., Walworth County Case # 2020-CV-

03127 (the “State Farm Lawsuit”) was removed to the Eastern District of Wisconsin on

the grounds of diversity jurisdiction.

       3.      In the Ven Housen Lawsuit, Plaintiff Kimberlee Ven Housen alleges that she

purchased a defective Winnebago van, which caused fire, and caused her personal and

property damage. The named defendants are RV World, Inc. of Nokomis, Winnebago

Industries, Inc. and Mercedes-Benz USA, LLC.

       4.      In the State Farm Lawsuit, Plaintiff State Farm alleges that its insured,

Kimberlee Ven Housen, also a named involuntary plaintiff, purchased a defective

Winnebago van that caused fire, and State Farm incurred damages reimbursing Ms. Ven

Housen for her loss. The named defendants are Winnebago Industries, Inc. and

Mercedes-Benz USA, LLC.

       5.      Thus, in both lawsuits, Ms. Ven Housen, Winnebago and Mercedes-Benz

USA are parties. In addition, the issues in both cases are the exact same (i.e. an allegedly

defective Winnebago van that caught fire and caused damage), and pertain to, among

other things, a dispute between State Farm and Kimberlee Ven Housen on one side and

Winnebago Industries, Mercedes-Benz USA, and RV World, Inc. on the other.

       6.      In order to preserve judicial resources and legal fees, it makes sense that




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the two matters either be consolidated, or alternatively, dismiss the State Farm Lawsuit

without prejudice and allow State Farm to move to join the Ven Housen Lawsuit as a

Plaintiff, pursuant to Fed.R.Civ.P. 20(a)(1).

       Dated this 23rd day of July, 2020.

                                                CADE LAW GROUP LLC

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